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                                                                                                  MANI.IATTAN OFFICE
                                                                                                    BY APPOINTMENT
                                                                                                        T: (212) 964-2702

                                                                 February 16,2021


           Via Email

           Lisa A. Langone
           Senior United States Probation Officer
           United States Department of Probation
           Central lslip, New York 11722

                                          Re:     United States v. Edward Mangano
                                                  Docket No. l6-CR-00540 (S-2) (JMA)

           Dear Probation Oflice Langone:

                   As you are aware, I am attorney for Edward Mangano in the captioned matter. I write to
           register objection to the content ol'the Presentence lnvestigation Report you prcpared in this matter
           dated December 2, 201 9, as set forth below:

           Paraqranh   ll
                  The PSR notes that Mangano served as a Nassau County Legislator between 1996 and
           2000. ln fact. Mangano served as a Nassau County Legislature from 1996-2009.

           Parasranh l3

                  This paragraph omits the following relevant facts:

                       a    Each of these extensions were negotiated by Singh and the Town of Oyster Bay
                            without any involvement of Edward Mangano. Each of these extensions contained
                            terms which were extraordinarily t'avorablc to Singh, including the fact that Singh
                            eventually was awarded a Concession Agreernent at the Woodlands with a 70 yeur
                            term. Throughout the time that Singh negotiated these extraordinary terms, he was
                            engaged in a years' long bribery scheme with his closest friend, Deputy Town
                            Attorney Frederick Mei; Deputy Supervisor Leonard Cenova, and othcr membcrs
                            of Town of Oyster Bay government. And. throughout Singh's tenure at the Town
                            of Oyster Bay, during which time his TOB lhcilities brought in extraordinary
                            revenue. the 'l'own of Oyster Bay ncver exercised their right to convert Singh's
                            well-below monthly rent, to a percentage ol'his huge profits.
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         Parnsranh l4

                 The PSR omits the following relevant facts:

                      a   Singh obtained this contract after the bid was riggcd by ofticials within thc Town
                          of Oyster llay to ensure that Singh would be awarded the contract.

                          Each of thcse extensions were negotiatcd by Singh and the Town of Oyster Bay
                          without any involvcment of Edward Mangano. Each of thesc extensions containcd
                          tenns wltich were extraordinarily favorable to Singh, including the fact that Singh
                          eventually was awarded a Concession Agreement at the Woodlands with a 50 year
                          tcrm. Throughout the time that Singh negotiated these extraordinary terms, he was
                          engaged in a years' long bribery scheme with his closest friend, Deputy 'l'own
                          Attorney Frederick Mei. Deputy Supervisor l-eonard Genova, and other members
                          of Town of Oyster Bay govcrnment. And, throughout Singh's tcnure at thc Town
                          of Oyster Bay. during which tirne his TOB facilities brought in extraordinary
                          rcvcnue. thc Town of Oyster Bay never exercised their right to convert Singh's
                          well-below monthly rent to a percentage of his huge profits.

         Paraeranh l5

                 'Ihe PSR omits the following relevant facts:

                      a   Each ol'these extensions were negotiated by Singh and the Town of Oyster Bay without
                          any involvement of Edward Mangano. Each of these extensions contained terms which
                          were extraordinarily favorable to Singh. including the fact that Singh eventually was
                          awarded a Concession Agreement at the Woodlands with a 70 year term. Throughout
                          the time that Singh negotiated these extraordinary terms. he was engaged in a years' long
                          bribery scheme with his closest l'riend, Deputy Town Attorney Frederick Mei; Deputy
                          Supervisor Leonard Cenova. and other members of 'l'own of Oyster [3ay government.
                          And. throughout Singh's tenure at the Town of Oyster Bay, during which tirne his TOB
                          facilities brought in extraordinary revcnue, the Town of Oyster Bay never exercised their
                          right to convert Singh's well-below monthly rent, to a percentage of his huge protits.

                      a   Edward Mangano had no involvement in thesc events, Singh was the only bidder
                          in connection with these concession agreements as the bid was rigged in favor of
                          Singh. Extraordinarily, the contract, indeed, required Singh to perform $l million
                          in capital improvements, but it did not require Singh to engage in the actual
                          improvements by any date certain. lt is worth noting that the Tappan Beach
                          concession v,as .for a 50 yeov /crur. thus Singh could have providcd said
                          improvements 49 years after signing the agreement.
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         Paraqranh l6

                 This paragraph contains a number ol'errors and rnaterial omissions. First, the paragraph
         omits the f'act that in 2003, scven years betbre Edward Mangano became County Executive, Singh
         obtaincd financing from a lending institution secured against one of Singh's Town ol'Oyster Bay
         concession agreements. ln short, the Town of Oystcr Bay already had agreed to back one of
         Singh's loans seuel, years bctbre Edward Mangano became County Executive.

                  Next. the paragraph incorrectly states that, "Singh secured approximately $20 million via
         four loans. each of which were indirectly guaranteed by the TOB". The accurate facts are as
         foll<lws: Singh's initial $ I .5 million credit line was not guaranteed by the Town of Oyster Bay, as
         the trial testimony unequivocally revealed that this loan l'ully comported with the provisions of the
         New York State Constitution. Notably, this loan was paid back in full. Singh's second loan of
         $3.5 million, likewise, was not guaranteed by the'fown of Oyster Bay. However. with regard to
         this loan. Frederick Mei had secretly changed the anticipated loan amount from $2 million to $3.5
         million prior to securing the signature of Town of Oyster Bay officials.

                 The next two loans. $7,843,138 and $12,273,748 were unequivocally guaranteed by the
         'l'own of Oyster Bay, thus, were unenforceable Bs they violated the provisions of the New York
         State Constitution. Moreover. both of these loans were signed by Lconard Genova in his capacity
         as Deputy Supervisorof thc Town of Oyster Bay. Cenova, who was bribed by Singh formany
         years, testified under oath that when he signed these loans he didn't read them and didn't knov,
         u,hut they u'ere. even though his signature line on the documents appeared approxirnately one inch
         above thc signature of Harcndra Singh, his close fi'iend. Finally. both ol'these klans were
         supporled by Opinion Letters by the law firm of Harris Beach, who purported to be acting on
         behalf of the Town of Oyster Bay, yet, in rcality thc Town of Oyster Bay never retained l-larris
         Bcach and never paid l-larris Beach. lnstead. Harendra Singh paid Harris Beach lbr providing thc
         Opinion Letters.

         Purrsrrnh l7

                  This paragraph contains a number of inaccuracies as set fbrth below:

                      o   The report states that. "Edward Mangano assured Singh that thc TOB would back
                          the loans". This is not true.

                      a   'l"he report notes that. "ln January 2010 Edward Mangano callcd TOB Supervisor
                          Venditto and explained that without the l'OB backirrg. Singh would be unable to
                          perform the capital improvements. During the call, and again approximately one
                          week later at an event, Venditto agreed that the TOB would act as a guorsntor on
                          the loan". This is not true.

                      a   The report notes that, ". , , Edward Mangano agreed to have additional legal counscl
                          find a way for the TOB to guaranty thc loan, On April 13,2010, Edward Mangano
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                          called his formcr law firm, Rivkin Radler, and askcd attorney William Savino to
                          find a way for the TOB to guaranty Singh's loans." This is not true. The Rivkin
                          law firm was well known to the Town of Oyster Bay and to John Venditto and
                          Leonard Genova. ln fact, thc Rivkin firm, with William Savino as lead counsel,
                          was representing the Town of Oyster Bay in a long running litigation matter at the
                          time ol'these events. The first call that was placed to the Rivkin firm by lhe Tou,n
                          ol'Oyster Bay was on April 8, 2010. Subsequently, Leonard Cenova called the
                          Rivkin law finn to secure their legal services in connection with this matter. This
                          I'act is borne out by the fact that a message was left at the Rivkin firm by Leonard
                          Uenova on April 13,2010, and handwritten notes taken by William Savino which
                          clearly referenced a detailed conversation with Leonard Cenova concerning this
                          matter, which precisely matched Savino's billing entries concerning a conversation
                          with Genova.

         Psrasrsnh l8

                   This paragraph contains a number a number of inaccuracies as set forth below:

                      a   Your report notes that the April 28. 2010 meeting was hcld "at the bchcst of Edward
                          Mangano". This is false. Singlr himself testified that the meeting had been set up
                          by Richard Porchelli, and that Singh had simply requested that Edward Mangano
                          stop by.

         Parasranh l9

                 This paragraph contains a number of inaccuracies. (See objections to paragraph l6 set
         forth above).

         Prraeranh 20

                 Your report notes that the T'own of Oyster Bay remains in litigation rcgarding the loan
         balances due and owing f'rom the NDH loans. Since your report issued, these litigations have
         cnded, as severaljudicial opinions have uniformly held that the Town of Oyster Bay is not liable
         for these default amounts as the Agreements arc unenforccablc duc to the t'act that ( l) the Oyster
         Bay Towrr Board never approved these loans (instead, as noted above, Leonard Cenova signed
         these agreements without reading them and never presented them to the Town Board), and (2)
         these loans were directly guaranteed by the 1'own of Oyster Bay. in violation of the Ncw York
         State Constitution.

         Parasranh 2l

                Your report notcs that the government bclieves that thcre is a preponderance ol'evidence
         in support of Mangano being responsible for the "Nassau County contracts". 'l'he government is
         wrong.
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         Paraqranh 23

                  This paragraph contains a numbcr of material omissions and inaccuracies as set forth
         below:

                     o   At trial, Harendra Singh offured thc perjurious testimony that, in approximately
                         November 2010, he went to the horne Edward Mangano with a box of cookies from
                         his srnall bakery which Mangano and the Nassau Cor.rnty SherilT Michael Sposato
                         sanrpled, which resultcd in Mangano volunteering, "l have to get you the tsread and
                         Rolls contract for the Nassau County Jail". Of coursc, thc Brcad and Rolls contract
                         involved the supplying of thousands of loaves ol'white bread. and is customarily
                         supplied by a commercial bakery. Singh had recently purchased the small
                         storefront bakery which had one baking oven. Next, Singh offered the perjurious
                         testimony that, following the purported November 2010 rneeting, he held
                         approximately 30 meetings over a period of a ycar and a half with Sheriff Michael
                         Sposato in his years long quest to obtain the Bread and Rolls contract. Yet, it was
                         established by the defense at trial that the existing Bread and Rolls contract could
                         have bcen cancelled at ary) litne by Nassau County, which never occurred. 'fhus.
                         had there been an ongoing el'fort by Nassau County to award this contract to Singh,
                         it could have been done in 2010 or 2011. At trial, Singh further offered the
                         testimony that based upon his dozens of rneetings with Sposato purportedly about
                         the Bread and Rolls contract, he knew "everything there was to know about the bid
                         for the contract". Yet, it was established by the defense that, in 2012, when Nassau
                         County released the bid online, Singh had to contact a friend to learn how to
                         download the bid (of course, he had not been given advancc notice by Sposato, nor
                         had he been given a copy of the bid). ln a remarkable display of perjury, when
                         conl'ronted with this fact at trial, Singh offbred thc t'alse asscrtion that thc online bid
                         which he sought to download was "another Nassau County food contract".

                     a   By law, and under the tcrms of the Nassau County Bread and Rolls bid itself, all
                         bids could be split into separate parts by line item. Moreover, no vendor was
                         permitted to submit a proposed bid at variance with the terms of the bid. The bid
                         submitted by San Remo Bakery was lower than Rockland's bid with regard to a
                         number of items. Moreover. San Remo offered a faster delivery tirne than Rockland
                         which, under the tcrms of the bid, was a "tiebrcaking" factor. Finally, Peter
                         Schmidt, the Presiding Officer of the Nassau County Legislature. and the l-lead of
                         the Rules Committee ol'the Legislature, which awards these bids, had an ongoing
                         policy of, when legally possible, choosing a Local Vendor to supply on Nassau
                         County contracts. San Remo was a local vendor, Rockland was not.
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         Parnsranh 24

                   This paragraph contains a number of inaccuracies and material omtsstons        as   set forth
         below:

                      o   See our response to paragraph 23 above.

         Parasranh 25

                   This paragraph contains a number ol'inaccuracies     arrd material omlsslons as     set forth
         trelow:

                      o   See our response to paragraph 23 above.

         Paraqranh 26

                   'l'his paragraph contains a number of inaccuracies and material omrsstons      as   set forth
         below:

                      o   See our response to paragraph 23 above,

         Paraqranh 27

                   This paragraph corrtains a number of inaccuracies and rnaterial omissions      as   set fbrth
         below:

                      o   See our response to paragroph 23 above.

         Parasranh 28

                   This paragraph contain$ a number ol'inaccuracies and material omissions        as   set forth
         below:

                      a   Thc Office of Emergency Management was located less than three rniles from
                          Singletons, a restaurant/catcring t'acility owned and operated by Harendra Singh.
                          Harendra Singh committed perjury at the initial Mangano trial, and the second
                          Mangano trial, by repeatedly testilying that Singletons lost all power during
                          Hurricane Sandy. This was false, as was known by the Government. ln fact, onc
                          of Singletons large kitchen facilities never lost power throughout Hurricane Sandy.

                      o   Hurricane Sandy was one of the largest disasters ever to hit Long lsland. l-lundreds
                          of thousands of people were without powcr fbr days, and the South Shore ol'Long
                          Island was flooded. Thousands of relief workers poured into Long lsland to assist
                          in the disaster, and were headquartcrcd at the OEM Facility in Bethpage. For the
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                          first few days of the reliel'operation, as was customary, food for the relief workers
                          was supplied by the Nassau County Jail. Neither Nassau County, nor Edward
                          Mangano, had any role in the stoppage of this supply. lnstead, a New York State
                          supervisor halted the jail's production of food as it was unsanitary. With this, a
                          replacement facility had to be urgently located. During a declared emergency, dnl
                          vendor who could best supply rnay be chosen, Dover was a previously registered
                          vendor with Nassau County. Yet. at the time that the jail food system was halted,
                          the Dover facility (l) had no power; (2) was in the flood zone, and (3) was located
                           14 miles frorn OEM. Singletons was located three miles l'rom the Office of
                          Emergency Management. was not in the flood zone, and, as noted, never lost powcr.

                     a    John McGuire, referenccd in the PSR, repeatedly sought to have Dover supply the
                          food. As was revealed by the defcnse during trial, John McGuire had a preexisting
                          relationship with Dover's owner, Butch Yamali.

                     a    Prior to trial. Singh proffered to the Covernment that he obtained the Emergency
                          Contract through the eflorts of Craig Craft (the head of OEM who signed the
                          purchase orders) and Larry Eisenstcin, the head ol'the Health Department. Both of
                          these individuals had previous relations with Singh.

         Parasrnnh 29

                  This paragraph contains a number of inaccuracies and material omissions, as set forth
         below:

                     o    See our response to 28 above.

         Paragranh 30

                  'l'his paragraph contains a number ol'inaccuracies and material omissions as set forth
         below:

                     a    Your report notes that, "Singh compensated Edward Mangano for exerling his
                          influence with travel expenses, items and improvements for Ed Mangano's home.
                         jewelry, discounted catering services. free meals at Singletons Restaurant and, as
                         detailed further below, a salary for Linda Mangano". This is false as set forth
                          below.

                     a    Singh did not compensate Edward Mangano for exerting his influence. Singh
                          hopcd that Edward Mangano would exert unlawf'ul influence to the benefit of
                          Harendra Singh, which did not occur. For instance. one of Harendra Singh's
                          companies registered as a Nassau County vendor in April 20 I 0. Singh repeatedly
                          proffered to the Covernment that Singh registered this vendor in the hope ol'
                          obtaining the lucrative Nassau County requirements contract. which he never
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                              obtained. In fact, Singh further proft'ered that, had he hired Robert Walker's wife,
                              he would have done better in Nassau County. Moreover, in 2015, Singh was
                              overheard on a recorded conversation with his closest confident and accomplice
                              Frederick Mei stating. on thrce occasions, "l never got anything from Edward
                              Mangano, in fact, he cost me money". Moreover, as established at trial, Nassau
                              County Government has a system wherein contracts can be awarded to vendors in
                              amounts under $25,000 without any legislative approval. ln f'act, an individual can
                              receive such a contract four times annually, and they were routinely awarded in
                              Nassau County for a variety of seemingly unnecessary services. During the entirety
                              of Edward Mangano's eight year tenure, neither Singh, nor any of his dozens of
                              entities, received a sirrgle Nassau County contract. The only thing Singh evcr
                              received from Nassau County! was the temporary Emergency Food Service
                              contract stemming from his restaurant/catering facility being located tlrree miles
                              from the Of'fice of Emergency Management. lt should be noted that Singh
                              repeatedly advised the Covernment in proffers that he obtained this contract as a
                              result of the efforts of Craig Craft, the Head ol'OEM, and Larry Eisenstein. the
                              llead of the Nassau County Department of l{ealth. Both of these individuals were
                              close to Harendra Singh.

         Psraeranh 3l

                  This paragraph contains a number of inaccuracies and material omissions as set forth
         below:

                      a       Singh repeatedly advised Edward Mangano that these trips were, for Singh, free, as
                              a result of a vast anrount of "points" he had accumulated stemming from the use of
                              his business credit cards associated with his various restaurants. For each of these
                              trips, the Mangano's spent their own money! never once inappropriately utilizing
                              campaign f'unds. And, the summary of trips in the PSR omits the fact that, for one
                              these trips, Singh's costs included his brother's entire family, who also attended the
                              trip.

         Parasrnph 32

                  This paragraph contains a number of inaccuracies and material omissions as set forth
         below:

                  See 3   I   above.

         Paraqranh 33

                  'fhis   paragraph contains     a number of inaccuracies and material omissions as set forth
         below:

                  See 3   I   above.
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         Parasranh 34

                  This paragraph contains a number of inaccuracies and material omissions as sct forth
         below:

                  Sec 3 I abovc.

         Paraqranh 35

                  This paragraph contains a numbcr of inaccuracics and matcrial omissions as set forth
         below:

                  See 3   I above.

         Paraqranh 36

                  This paragraph contains a number of inaccuracies and matcrial omissions as sct fbrth
         below:

                     o     At trial, Singh initially testified that all invoices from his company were from a
                           premade template, However, in reviewing the invoice for $57,766.20 which he
                           claimed legitimate ly set forth Mangano's campaign expenses at Singh's facilities,
                           at trial Singh confirrned that it was replete with misspellings and inaccurate
                           information, including misspelling his own business address and providing the
                           wrong zip code for his own office. ln short the $57,766.20 invoicc was not
                           legitimate.

                     a     With regard to the custom made chair purchased by Singh, your report omits the
                           fact that Singh perjured himself at trial concerning this issue. Specifically, Singh
                           olfered the testimony that, shortly after Edward Mangano was clcctcd to thc
                           position of Clounty Executive, he presented Harendra Singh with a picture of an
                           office chair and stunningly stated "buy this for rne". His preposterous testimony
                           was revealed to be perjury when Singh was confrontcd with cmails between him
                           and the interior designer in which Singh is asking his designer about furniture that
                           he wished to obtain fbr Mangano's office.

         Parnersnh 37

                  This paragraph contains a number of inaccuracics and material omissions as set lbrth
         below:

                     a     Edward Mangano never told Harendra Singh that he would have "additional lcgal
                           counsel find a way for the TOB to act os a guarantor for the loans". Among other
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                            things, in April 2010, Edward Mangano had been County Executive for fbur
                            months, and John Venditto had bcen eftbctively acting as Supervisor for the Town
                            ofl Oyster Bay for more than a decade, during which the Town of Oyster Bay had
                            accommodated Singh at every turn owing from Singh's systematic acts of bribery
                            to various Town of Oyster Bay officials. As conceded by Singh at trial, the Town
                            of Oyster Bay hacl never said no lo Singh.

                            ln point of fact, Linda Mangano's first payment u,a.r tv,o clay,r a.fter llarendra Singh
                            registered his company as a vendor with Nassau County in the hope of securing the
                            requiremcnts contract. As noted. Singh never got the contract.

            Parasranh 38

                     This paragraph contains a number of inaccuracies and material omissions as set forth
            below:

                        a   Singh committed perjury during his testimony concerning the massage chair. 'frial
                            evidence revealed that when the massage chair arrived nt Edward Mangano's home,
                            it was accompanied by a note reading "Happy Birthday". At thc same tinre. The
                            Water's Edge, Singh's restaurant located in Long Island City, was hosting a high-
                            end campaign fundraiser in celebration of Edward Mangano's 5Oth birthday. When
                            confronted with this fhct at trial, Singh offered the false testimony that the chair had
                            nothing to do with the fundraiser being hoslcd at his resluurant, lnstead. he called
                            the l-lappy Birthday note Bccompanying the chair a "code" for bribc, while at the
                            same time. claiming that it was.just a coincidence that the chair arrived at the same
                            time as the fundraiser. as he was uninvolved with the fundraiser (at his restaurant).
                            Singh's testimony was revealed to be per;iury when Singh was confrontcd with
                            internal communications      at his restaurant which rcvealed that Singh was
                            instrumental in the decision making and planning of the 5Otl'bifthday fundraiser for
                            Mangano at his restaurant.

            Parasranh 39

                     This paragraph contains a number of inaccuracies and material omissions as set forth
            below:

                        o   Since your initial PSR issued, revelations undermining the credibility of the vendor
                            noted in paragraph 39 have come to light. l'hese revelations are contained in
                            documents which arc filed Undcr Seal. Moreover. it is worth noting, that thc
                            intcrnal documentation of this vendor offered as cxhibits at trial by the Covernment
                            contained a number of inconsistencics.
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             Parasranh 40

                      This paragraph contains a numbcr of inaccuracies and material omissions as set forth
             below:

                         a   With regard to the watch, in point of fhct, the trial evidence revealed the Mangano
                             asked Singh to buy his son a watch for his lSil' birthday as Mangano was working
                             virtually 24 hours a day at the time at OHM during l'lurricanc Sandy, and because
                             Singh's close friend, Kamlesh Meta, owned a farnily jewelry business. Critically
                             (and omitted f'rom youri'eport). as revealed in trial tcstimony, Mangano gave Singh
                             a budget fbr the watch and conrperrsated Singh for the watch. lt was Sitrgh, without
                             knowledge of Mangano at the time, who exceeded the budget pricc.

             Prraeranh 4l

                      This paragraph contains a number of inaccuracies and matcrial omissions as set I'orth
             below:

                         a   It is incorrect that there were several conversations betwcen Edward Mangano and
                             Singh with regard to a salary lor Linda Mangano. Harendra Singh sct thc salary.
                             The PSR also states that, "it was expectcd that thc salary would entail little to no
                             work to be perlbrmed". This is not true.

             Parasranh 53

                      This paragraph contains a number of inaccuracics and material omissions as set foftlr
             below:

                         o   It is entirely incorrect that "during the time period in question Edward Mangano
                             caused 'fOB officials to rnodily existing concession agreements with Singh,
                             thereby indirectly guarantying $20 million in loans sought by Singh". (See
                             responscs abovc).

             Parasranh 54

                      This paragraph contains a number of inaccuracics and material omissions as set forth
             below:

                         a   It is inaccurate that Edward Mangano used his position to exert prcssure with rcgard
                             to the Bread and Rolls contract, and thc emergency I'ood contract during l-lurricane
                             Sandy.
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          Parasranh 97

                     a     Your report notes that Mangano's son, Salvatore, is a jeweler. Since the issuance
                           of your initial report, Salvatore has become a Nassau County Police Ofllcer.

          Parasranh 108

                     a     Your report notes that Edward Mangano is unernployed. Since the issuance of your
                           initial Presentence lnvestigation Report, Mangano has obtained employment at
                           Oheka Clastle. Mangano timely notit'ied Pretrial Services of this employment and
                           has supplied his puystubs Prctrial Scrvices. His annual gross income at Oheka is
                           approximately $88.000.

          Parasranh      138

                     a     Your report notes, generally. that as a result of his felony conviction, Mangano
                           lbces a potentially broad range of collateral consequences. I note that, prior to his
                           conviction in the instant matter. Mr. Mangano was a licensed attorney in thc Statc
                           of New York. Upon his conviction, hc was automatically disbarred.

          Your Gu idelines Calculations

          Paraqranh 69

                 Thc PSR accords Mangano a two level increase pursuant to Cuidelines 2Cl,l (b) (l)
          premised upon the contention that. "the defendant accepted multiple bribes frorn Singh in
          exchange lor assistance in arranging the TOB to act as guarantor of four loans and obtaining (sic)
          Nassau County contract". I register objection to this increase as set forth below:

                  To begin, the cvidence at trial was unequivocal that Mangano's last act remotely related to
          the TOB matter, was his attendance at an April 28,2010 mecting hosted by Town of Oyster Bay
          Supervisor John Venditto; chaired by Mr. Venditto. and held in Mr. Venditto's of'fice. Witnesses
          describe Mangano arriving late to this meeting. standing against a wall (while the group sat around
          a conference table headed by Mr. Vcnditto), and cither saying nothing or. at most, stating "Let's
          see if we can help out our friend". At the time of this meeting, Ed Mangano had becn Nassau
          County Executive fbr approximately lbur months, while .lohn Venditto had been running the T'own
          ol'Oyster Bay for more than a decade. The discussion at the meeting apparcntly centcred upon
          Singh's effbrt to obtain firnding from a private lender in the fonn of a $1.5 million line of credit,
          The trial evidence revealed that subsequent to this meeting attorncys at Rivkin Radler were able
          to construct a lawl'ul, appropriate agreement which fully comported with the New York State
          Constitution in which TOB had the option (if they chose) to reimburse Singh upon delhult-a
          reimbursement which could then be assigned to the lender. Thereafter, Singh obtained a $1.5
          million line of credit in June 2010 with Madison Bank-which was subsequently paid back in l'ull.
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                  As rel'erenced above, Singh subsequently obtained multiple loans from lenders stemming
          frnm his corrupt relationship with Frederick Me i; Leonard Cenova, snd the Flarris Beach law firm,
          Approximately one year aller the $ | .5 rnillion Madison line of crcdit closed, Singh obtained a $3.5
          million loan from Madison Bank which was supported by an agreement by the Town ol'Oyster
          Bay which sirnilarly gave the Town the option (not a guaranty) to provide funding upon defhult.
          Unbeknownst to 'l'own of Oyster Bay Supervisor .lohn Venditto. Frederick Mei had unilaterally
          changed the tenrr of the'l'own's option in support of Singh from $2 million to $3.5 million. In
          2011. and 2012, Singh obtained additional loans totaling approximately $20 million from NDH
          Capital. These loans werc vastly dil'lbrent from the two prior in that thcy were unequivocally
          guaranteed by the Town of Oyster Bay and, thus. unenlirrceable as they violated the provisions ol
          the New York Statc Constitution which bar a municipality l'rom guarantying a private loan.
          Moreover, thesc loans were never approved by the Oyster Bay Town Board. lnstead, Lconard
          Genova. in his capacity as Deputy Supervisor of the Town of Oyster Bay, signed these agreements
          whilc ol'lbring the preposterous trial testimony that "he never read them". Notably, Mr. Cenova
          was bribed for ycars by Harendra Singh. And. I"redcrick Mci received $25.000 cash from Singh
          upon the closure of each of these loans. Finally. each of these loans was supported by Opinion
          Letters from thc Harris Beach law firm, who purportcdly was acting at the behest of the l'own of
          Oyster Bay. ln reality, Harendra Singh paid the l"larris Bcach to write the l'raudulent opinion
          letters.

                  ln short, while we believe Mangano's attendance at the April 28th meeting was I'ully lawful
          and fell well short of constituting improper "formal government action", it is undeniable that his
          conduct ceased on April 28, Z0l 0. The trial evidence rcvealcd Mangano kl be utterly uninvolved
          in Singh's attempt to obtain the $3.5 million Madison loan. and thc subsequent NDH loans. And.
          as noted, Mangano was acquitted of unlawful conduct related to the 2012 Emergency F'ood
          Contract, and the 2013 Bread and Rolls Contract.

                  With this, it is incorrect that Mangano received "multiplc brihes f'rom Singh in exchange
          for assistance in arranging the TOB to act as guarantor ol'lbur Ioans and obtaining (sic) Nassau
          County contract". While we strongly disagree with the jury's vcrdict. it rcflected a single bribe-
          thc employment of Linda Mangano which began in April 2010. 'l'hus, the multiple bribe
          enhancement does not apply.

          Parasraoh 70

                  The PSR accords Mangano a 20 level enhancement pursuant to          2bl,l(bXlXK). As set
          forth below we ob.iect to this enhancement on rnultiple grounds.

                  To begin, you arrive at this enhancementby adding the $20 million in loans that Singh,
          purportedly. would otherwise been unable to obtairr; the value of thc Bread and Rolls Contract
          ($ 193,824); the value of the OEM Ernergency Food Contract ($233,000), and the value of thc gifls,
          services and bribes purportedly received by Mangano ($530,000). (PSR fl70) However. the plain
          languagc ol'2C I . I (bX2) instructs as follows:
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                          ll'the value of the payment. the benefit received or to be received in return
                          for the payment, the value of anything obtained or to be obtained by a public
                          official or others acting with a public official, or the loss to the government
                          from the offense. v,hichever i,s g'ealest, exceeded $6.500, increase by the
                          number of levels from the table in 28 l.l corresponding to that amount
                          (emphasis supplied).

               ln shoft, the guidclines instruct that thc grcatest of these sums are to be used, not the
        curnulative total. Thus, the methodology employed in the PSR is incorrect.

                   With this, we turn to the issue ol'which of these sumst il'any, are to be used

                On multiple grounds, the use of the loan amounts obtained by Singh from privatc lendcrs
        to calculate an enhancement under 28 I .1., is impermissible under 2C I .l(BX2). First, as detailed
        above. Mangano's "involvement" in the TOB nratterendcd on April 28,2010 when he brictly
        attended a meeting at John Venditto's office. Discussed at the meeting was whether the 'l'OB
        could back in some form a $1.5 million loan sought by Singh from a private lender. The trial
        evidence revealed Mangano to be utterly uninvolved in Singh obtaining private loans from lenders
        in thc years that tbllowed. Moreover, as set fbrth above, these subsequent loans were materially
        different from the initial $1.5 million loan obtaincd by Singh. Thus, under no analysis, can
        Mangano be held responsible under 28l.l for $20 million in loans obtained by Singh.

                But the analysis goes deeper. As indicated above, in relevant part,2Cll.l(BX2) instructs
        that lor this count of conviction, tlre 2Bl.l Ioss table can be utilized by calculating "the benefit
        received or to be rcccived in return fbr the payment-or the loss to the Government lrom the
        offense". l'irst. the Uovernment (the IUB) sustained no losses stemming from thcse loans, lhe
        TOB extended no loans to Singh following the meeting of April 28,2010. lnstead. Singh simply
        received from'l'Oll an amendment to his cxisting Clonccssion Agrecment in thc form of an option
        to reimburse upon def'ault, as discussed above. This option was utilized by Singh in applying for
        $1.5 million line of crcdit fiom private lender Madison Bank, But. the option in his amended
        Concession Agreement was just one of countless documents submitted by Singh to Madison in
        sceking the line of credit. The trial evidence revealed that Singh submitted a lirll set of fraudulent
        financials and fraudulent tax returns to Madison in support of the request for the line of crcdit.

                   ln short, thc Covernment sustained no   from the TOB matter, as Singh simply
                                                              /o.rsc.r
        obtairred frorn the TOB an amended Concessiorr Agreement in form of an option by 'l'OB to
        rcimbursc upon delhult.

               Next, Singh received no "benelit" (see, 2C l.l(BX2), above) I'ronr the anrended Conccssion
        Agreement. As noted, the trial evidence revealed that this amendment was just one of many
        documents submitted by Singh in support of his line of'credit with private lender Madison. Ol'
        course, a line of credit is a liabilitl, which, in this case, was repaid in full.

        ln short, under no permissible legal or f'actual Guidelincs theory can Mangano bc held rcsponsiblc
        for $20 rnillion in loans.
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                 Thus, the only permissible manner under z0l,l(BX2) to calculate loss based upon the
          counts of conviction in this case is to utilize the value of Linda Mangano's salary (approx.
          $475,000).


          Parasranh 73

                  You accord Mangano a 3level increase pursuant to 3Bl.l.(B) for supervising the
          participants in an offense that involved five or more participants. This is erroneous. Mangano
          was acquitted of all conduct related to the Nassau County contracts, and at trial there was not a
          preponderonce of evidence in support of such chargcs. With rcgard to thc TOB matter, Mangano
          supervised no one. At the time, Mangano was the County Executive of Nassau County, and had
          no supervisory authority over anyone in Town of Oyster Bay government.

          Parasrrnh 84

                   With the adjustments set forth above, Mangano's total offense level is 32, not 45.

                                                                Very truly yours,


                                                                Kerlro   f,   Kealaq

                                                                KEVIN J. KEATINC

          KJK/dg
